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11   IRICO DISPLAY DEVICES CO., LTD.

12
                                UNITED STATES DISTRICT COURT
13
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                    SAN FRANCISCO DIVISION
15

16   IN RE: CATHODE RAY TUBE (CRT)                  )   Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION,                          )
17                                                  )   MDL No.: 1917
                                                    )
18   THIS DOCUMENT RELATES TO:                      )   IRICO GROUP CORPORATION’S
                                                    )   AMENDED MOTION TO DISMISS
19   ALL INDIRECT PURCHASER ACTIONS                 )   CLAIMS OF INDIRECT
                                                    )   PURCHASER PLAINTIFFS FOR
20                                                  )   LACK OF SUBJECT MATTER
                                                    )   JURISDICTION (FED. R. CIV. P.
21                                                  )   12(b)(1))
                                                    )
22                                                  )   Date:        May 30, 2019
                                                    )   Time:        2:00 p.m.
23                                                  )
                                                    )   Judge:       Honorable Jon S. Tigar
24                                                      Courtroom:   9

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     IRICO GROUP’S AMENDED MOTION TO DISMISS IPPS                       CASE NO. 3:07-CV-05944-JST
     FOR LACK OF JURISDICTION                                                        MDL NO. 1917
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1                              NOTICE OF MOTION AND MOTION

2    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
3           PLEASE TAKE NOTICE that on May 30, 2019, at 2:00 p.m., or as soon thereafter as the
4    matter may be heard, before the Honorable Jon S. Tigar, United States District Judge of the
5    Northern District of California, San Francisco Courthouse, located at Courtroom 9, 19th Floor,
6    450 Golden Gate Avenue, San Francisco, California, Irico Group Corporation (“Irico Group” or
7    “Group”, together with Irico Display Devices Co., Ltd., “Irico” or “Irico Defendants”), by and
8    through its undersigned counsel, will and hereby does move, pursuant to Federal Rules of Civil
9    Procedure 12(b)(1) for an Order dismissing all claims in Indirect Purchaser Plaintiffs’ (“IPPs”)
10   Fourth Consolidated Amended Complaint (Dkt. 1526) against Irico Group for lack of subject
11   matter jurisdiction.
12          This Amended Motion is based on this Notice of Motion, the following Memorandum of
13   Points and Authorities in support thereof, the Amended Declaration of Zhaojie Wang
14   (“Amended Wang Decl.”), the Declaration of Donald Clarke (“Clarke Decl.”) (ECF No. 5392-3),
15   the Amended Declaration of Stuart Plunkett (“Amended Plunkett Decl.”), any materials attached
16   thereto or otherwise found in the record, along with the argument of counsel and such other
17   matters as the Court may consider.
18                                    ISSUES TO BE DECIDED
19          1.      Whether the Court lacks subject matter jurisdiction over Irico Group pursuant to
20   the Foreign Sovereign Immunities Act, 28 U.S. §§ 1602 et seq.
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     IRICO GROUP’S AMENDED MOTION TO DISMISS IPPS                          CASE NO. 3:07-CV-05944-JST
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     IRICO GROUP’S AMENDED MOTION TO DISMISS                                                               CASE NO. 3:07-CV-05944-JST
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1    I.     INTRODUCTION

2           The Court lacks subject matter jurisdiction over Irico Group under the Foreign Sovereign

3    Immunities Act (“FSIA”), 28 U.S. §§ 1602 et seq. Irico Group has always been wholly owned by

4    the State Council (“State Council”) of the People’s Republic of China (“PRC”). The Chinese

5    government created Irico Group for the benefit of the Chinese people, and the government tightly

6    controlled all of Irico Group’s high-level management and day-to-day business operations. Irico

7    Group is thus an agency or instrumentality of the Chinese Government and is presumptively

8    entitled to sovereign immunity.

9           Irico Group was established through the direct approval of the Chinese Ministry of

10   Machinery and Electronics Industry of the People’s Republic of China on March 16, 1989.

11   (Amended Wang Decl. ¶ 20; Amended Plunkett Decl., Ex. 46.) As a state-owned enterprise,

12   Group was funded solely by the Chinese government. (Amended Wang Decl. ¶ 26; Amended

13   Plunkett Decl., Ex. 29 at -514.) As part of the PRC’s Seventh Five-Year Plan, the national

14   government created Irico Group for the explicit purpose of developing and manufacturing CRT

15   technologies within mainland China and to respond to the needs of the Chinese people for color

16   televisions. (Amended Wang Decl. ¶ 21; Amended Plunkett Decl., Ex. 6.) The government also

17   required that Irico Group, as a state-owned company, provide a host of societal benefits to the

18   people, including Group’s creation and maintenance of local schools, a police force, hospitals,

19   and recreational facilities. (Amended Wang Decl. ¶¶ 25-27; Amended Plunkett Decl., Ex. 49 at

20   -964.) And the State directly managed and tightly controlled virtually all Irico Group operations.

21   By way of example only, the Chinese Government—through the State-owned Assets

22   Supervision and Administration Commission of the State Council (“SASAC”)—appointed and

23   removed all members of the board or directors, general managers, and certain lower level

24   employees; required Group to achieve performance targets for maintenance and appreciation of

25   State-owned assets; evaluated and determined compensation for the board and management

26   employees; embedded “supervisory panels” inside Irico Group to monitor the businesses’

27   day-to-day functions; approved/rejected annual budgets and capital expenditure requests;

28   required Group to pay a set portion of profits back to the government and reinvest the remainder

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1    so as to increase the value of State-owned assets; and disciplined Irico Group employees,

2    including by expelling same from Irico Group’s employ. (Amended Wang Decl. ¶¶ 22, 24,

3    27-29, 31-38.) At the time the original complaint was filed, Irico Group was a state-owned

4    enterprise wholly owned by the State Council and controlled through several departments of the

5    State Council including SASAC. (Amended Wang Decl. ¶¶ 22-24.)

6           IPPs cannot establish that any exception to Irico Group’s presumed immunity under the

7    FSIA applies. In particular, Irico Group’s alleged actions do not fall within the “commercial

8    activity” exception to the statute. As required to defeat a claim of immunity, IPPs cannot

9    establish a “direct effect” in the U.S. that followed as an “immediate” consequence of Irico

10   Group’s commercial activity. Moreover, the law squarely rejects any claim that Irico Group’s

11   alleged participation in a global conspiracy qualifies as a “direct effect” that would defeat the

12   presumption of immunity. Finally, as IPPs cannot establish that any other exception to FSIA

13   immunity applies to Irico Group, the Court should hold that Irico Group is immune from suit as

14   an agency or instrumentality of the People’s Republic of China and thus order the dismissal of

15   Irico Group with prejudice.

16   II.    BACKGROUND AND FACTS

17          A.      Procedural Background
18          This case relates to a purported conspiracy to fix the prices of cathode ray tubes

19   (“CRTs”). IPPs represent a class of individuals and entities in certain states that purchased

20   televisions or monitors containing CRTs from customers of one or more of the defendants. (Dkt.

21   1742 at 2-3.) Irico appeared in the case in June 2008, represented by different counsel, and

22   joined motions to dismiss, (Dkts. 308, 479), which the Court denied on March 30, 2010, (Dkt.

23   665). Believing itself immune to suit in the United States, Irico ceased participation in May

24   2009. (Dkt. 732 at 1.) Default was entered against Irico in the IPP action on July 22, 2016.

25   (Dkt. 4729.)    Following motions practice with Direct Purchaser Plantiffs (“DPPs”), Irico

26   Defendants and IPPs stipulated that the entry of default be vacated, and the Court vacated the

27   default on April 6, 2018. (Dkt. 5271.) After referral of the issue to the Special Master, IPPs were

28   permitted to participate jointly with DPPs in jurisdictional discovery. (See Dkt. 5310.) The

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1    parties have since engaged in limited discovery relating to whether the Court has jurisdiction

2    over either Irico Defendant. (Id.)

3
               B.      Irico Group Was Wholly Owned By the State Council, Created for the
4                      Benefit of the People of China, and Tightly Controlled by the State

5                      1.     Irico Group Was a State-Owned Enterprise
6              Irico Group has been a State enterprise, wholly-owned by the State Council of the

7    People’s Republic of China, since its creation by the government in 1989. (Amended Wang

8    Decl. ¶ 20; Amended Plunkett Decl., Ex. 46.) Group was formed out of the wholly state-owned

9    assets of the Shaanxi Color CRT “4400” Plant. (Amended Wang Decl. ¶ 20; Amended Plunkett

10   Decl., Ex. 46.) The “4400” Plant was also classified as an enterprise owned by the whole people

11   of the PRC. (Amended Wang Decl. ¶ 20; Amended Plunkett Decl., Ex. 46.) Ownership “by the

12   whole people,” a concept enshrined in the Chinese Constitution, is synonymous with ownership

13   by the Chinese government. See Constitution of the People’s Republic of China (“PRC Const.”),

14   Art. 7 (“The State-owned economy, namely, the socialist economy under ownership by the

15   whole people, is the leading force in the national economy. The State ensures the consolidation

16   and growth of the State-owned economy.”) 1; see also Trans Chem. Ltd. v. China Nat’l Mach.

17   Import & Export Corp., 978 F. Supp. 266, 290 (S.D. Tex. 1997) (concluding that Chinese law

18   and regulations supported a finding that “Chinese industrial enterprises ‘owned by the whole

19   people’ . . . are ‘state-owned,’ with proprietary rights exercised by the State Council on behalf of

20   the state”).

21             Group was established through the direct approval of the Chinese Ministry of Machinery

22   and Electronics Industry on March 16, 1989. (Amended Wang Decl. ¶ 20; Amended Plunkett

23   Decl., Ex. 46.) Group was a state-owned enterprise wholly owned by the State Council when the

24   IPPs filed their initial complaint in 2007. (Amended Wang Decl. ¶ 23; Clarke Decl. ¶ 19. 2) The

25   State Council is the central executive government of the People’s Republic of China. See PRC

26   Const., Art. 85 (“The State Council, that is, the Central People’s Government, of the People’s

27   1
         Available at http://www.npc.gov.cn/englishnpc/Constitution/node_2825.htm.
     2
28    Citations in the Clarke Declaration to “Plunkett Decl.” refer to identical exhibit numbers as those
     attached to the Amended Plunkett Declaration filed in support of this motion.
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1    Republic of China is the executive body of the highest organ of state power; it is the highest

2    organ of State administration.”); (Amended Wang Decl. ¶ 22; Clarke Decl. ¶ 20; Amended

3    Plunkett Decl. Ex. 4 at -515 (showing all of Irico Group’s capital owned by “The State

4    Council”).)

5              As a state-owned enterprise, Group was funded solely by the Chinese government.

6    (Amended Wang Decl. ¶ 26; Amended Plunkett Decl., Ex. 29 at -514.) Group benefited from

7    complete government financial support. (Amended Wang Decl. ¶¶ 25-27; Amended Plunkett

8    Decl., Ex. 49 at -964, 48 (SASAC letter approving “State-owned Capital Operation” budget for

9    Irico Group).) The level of financial support provided by the PRC went well beyond benefits

10   conferred on non-state-owned Chinese businesses. (Amended Wang Decl. ¶¶ 25-27; Amended

11   Plunkett Decl., Ex. 49 at -964, 48.)

12                     2.      The State Council of the People’s Republic of China Created Irico
                               Group for the Benefit of the People of China Pursuant to Centralized
13                             Government Reform Initiatives
14             The PRC created Irico Group to provide valuable CRT technology to the people of China

15   and the Chinese government mandated that Group provide a host of social services that

16   benefitted the people of Xianyang City, Shaanxi Province, where Group is headquartered. The

17   PRC deemed Group as an enterprise “hav[ing] a vital bearing on the lifeline of the national

18   economy” of China. (See Decree of the State Council of the People’s Republic of China No. 378,

19   Art. 5 (May 27, 2003) (“SASAC Regs.”) 3; Amended Wang Decl. ¶ 24; Amended Plunkett Decl.

20   Ex. 12 at -581 (government notice describing Irico Group as “a key large state-owned

21   enterprise”).)

22             Group’s origins trace back to a decision by the State Council in the 1970s to fully fund

23   and support the production of CRTs due to the strategic importance of CRTs in the development

24   of China’s national economy. (Amended Plunkett Decl., Ex. 30 at -651 (comments from Chinese

25   Deputy Prime Minister that “Color TV is very important for industry, national defense, and

26   civilian use. It must not be omitted from the projects and it must be included in the plan when we

27   formulate the Five-Year Plan.”).)           Given the significance of CRTs in the fields of

28
     3
         Available at http://en.sasac.gov.cn/n1408035/c1477199/content.html.
     IRICO GROUP’S AMENDED MOTION TO DISMISS                                   CASE NO. 3:07-CV-05944-JST
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1    communications, science, education, culture, medicine, industry, agriculture, and others, the

2    Fourth Ministry of Machinery Industry reported to the State Council on February 17, 1977 that it

3    intended to introduce CRT technology and equipment from abroad. (Id.) This resulted in the

4    construction of the wholly state-owned, state-funded, and state-operated Shaanxi Color CRT

5    “4400” Plant in 1978 in Xianyang. The 4400 Plant was “listed as one of the key projects under

6    the State’s ‘Sixth Five-Year Plan.” (Amended Plunkett Decl., Ex. 46 at -907-908, 6 at -527.)

7            As part of state-directed reform under China’s Seventh Five-Year Plan, 4 Group was

8    established by the Chinese government in 1989 to further develop CRT technology and to aid in

9    China’s national economic development by responding to the need of the Chinese people for

10   color televisions. (Amended Wang Decl. ¶ 21; Amended Plunkett Decl., Ex. 6; Clarke Decl. ¶

11   14.) As a state-owned and controlled enterprise, the Chinese government required Group to

12   undertake a host of public service obligations for the benefit of the people of Xianyang City.

13   Group provided primary and secondary public schools, the local police department, a hospital,

14   public transportation, public recreational facilities to citizens living around and working at

15   Irico’s business operations in Xianyang, Shaanxi Province, and a host of other public welfare

16   projects. (Amended Wang Decl. ¶¶ 25-27; Amended Plunkett Decl., Ex. 49 at -964 (“Due to

17   historical reasons and geographical environment, the Group has assumed a considerable number

18   of social functions, wherein affiliated schools, hospitals, kindergartens, public security offices

19   etc. were established. . . . [C]onsiderable effort and expense are required in such units so that the

20   Group could not fully focus on production and operating activities.”), -968 (listing “Social units

21   ran by the Group,” including those “responsible for government functions,” “[p]ublic welfare

22   units,” and other “[w]elfare-type units.”).)

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26   4
      The Five-Year Plans are broad economic and social development initiatives formulated and issued
27   periodically by the Chinese government. The Seventh Five-Year Plan, in effect when Irico Group was
     created, stated among its goals to “gradually shift state control of enterprises from direct to indirect
28   means, in order to establish a socialist macroeconomic control system.” (Amended Plunkett Decl., Ex. 53
     at Ch. 43; see also Clarke Decl. ¶¶ 10-16 (explaining evolution of China’s state-owned economy).)
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                     3.      The State Directly Managed and Tightly Controlled Irico Group
1
             Group was subject to the direct management, supervision, and control of SASAC and
2
     other departments of the State Council, including the Ministries of Finance and Personnel. 5 See
3
     Decree of the State Council of the People’s Republic of China No. 378, Art. 5 (May 27, 2003)
4
     (“SASAC Regs.”), available at http://en.sasac.gov.cn/n1408035/c1477199/content.html;
5
     (Amended Wang Decl. ¶ 24; Amended Plunkett Decl. Ex. 12 at -581 (government notice
6
     describing Irico Group as “a key large state-owned enterprise”), 29 at -642 (SASAC notice
7
     listing Irico Group as an entity “under the direct supervision and management of SASAC”);
8
     Clarke Decl. ¶ 22.) SASAC’s control over Group was authorized by the Interim Regulations on
9
     Supervision and Management of State-owned Assets of Enterprises, adopted by the State
10
     Council in 2003 and in effect in late 2007. See SASAC Regs., Art. 2. These governmental
11
     regulations specified that SASAC shall:
12
             •   “appoint and remove” the board of directors, “general manager, deputy general
13               manager, chief accountant,” and other “responsible persons” of Group, SASAC Regs.
                 at Art. 17(1) (see, e.g., Amended Plunkett Decl. Ex. 45 at -867 (SASAC notice
14               appointing General Manager of Irico Group));
15           •   evaluate the performance and “determine the remuneration” of board members and
                 management of Group, including “grant[ing] rewards” or “impos[ing]
16               punishments . . . based on the evaluation results,” SASAC Regs. at Art. 19 (see
                 Amended Wang Decl. ¶ 32; Amended Plunkett Decl. Ex. 15, 26-28 (SASAC notices
17               regarding performance evaluation and compensation for Irico Group management in
                 2004 and 2005));
18
             •   “dispatch supervisory panels” to Group, id. at Art. 34 (see Amended Wang Decl. ¶
19               31; Amended Plunkett Decl. Ex. 13 at -706, -708, Ex. 18 at -593 (2004, 2005, and
                 2007 SASAC letters appointing supervisors to Irico Group)); 6
20
             •   “safeguard the rights and interests” of the state in the assets utilized by Group and
21               perform responsibilities on behalf of the State as the sole investor in Group, id. at Art.
                 13(1), 35;
22

23
     5
24    As unincorporated departments of the State Council assigned various tasks of governance, SASAC and
     other ministries such as the Ministry of Finance are “political subdivisions” of the Chinese government
25   under the FSIA. See 28 U.S.C. 1603(a); (Amended Plunkett Decl. Ex. 51; Clarke Decl. ¶ 15).
     6
26     These supervisory panels “carr[ied] out regular . . . or irregular inspections” of Irico Group, were
     empowered to “supervise the financial activities” of Group and “the operational and management
27   activities” of Group’s top management, and had specific authorization to interview any employees,
     review “financial and accounting records,” conduct “investigations and inquiries,” and attend Irico Group
28   meetings. Decree of the State Council of the People’s Republic of China No. 283 (Mar. 15, 2000), Art. 3,
     5-7, available at http://en.pkulaw.cn/display.aspx?cgid=27155&lib=law.
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            •   “supervise” and perform regular audits to ensure the “preservation of and increase in
1               the value of State-owned assets” held by Group, SASAC Regs. at Art. 13(5) (see
                Amended Wang Decl. ¶ 33; Amended Plunkett Decl. Ex. 22-24 (2005, 2006, and
2               2007 SASAC notices to Irico Group regarding audit and evaluation of Group’s prior
                year financial accounts, which included “level-three or above subsidiaries” of
3               Group));
4           •   review and approve all Group “restructuring plans” and “articles of association,”
                SASAC Regs. at Art. 20 (see Amended Wang Decl., and “guide and push forward”
5               any reform or restructuring efforts, id. at Art. 13(2) (see Amended Wang Decl. (see,
                e.g., Amended Plunkett Decl. Ex. 25 at -624 (SASAC directive approving and giving
6               instructions to Irico Group regarding 2004 restructuring plans));
7           •   decide “on such major matters as the division, merger, bankruptcy, dissolution,
                capital increase or decrease, or issue of company bonds” affecting Group and “make
8               arrangements for settling laid-off workers,” SASAC Regs. at Art. 21, 25 (Amended
                Wang Decl. ¶¶ 29-30);
9
            •   “authorize . . . operation of State-owned assets” by Group and its subsidiaries,
10              SASAC Regs. at Art. 28; and

11          •   receive regular reports from Group on its “finance[s], production, and operation” as
                well as the preservation or appreciation of state-owned assets, id. at Art. 37, 39 (see
12              Amended Wang Decl. ¶ 33; Amended Plunkett Decl. Ex. 19 at -594 (2003 letter from
                SASAC Statistical Evaluation Bureau reviewing materials submitted by Irico Group
13              to evaluate Group’s success in “preservation and appreciation of state-owned
                capital”)).
14
            In addition, all directors, managers, and other “responsible persons” of Group were at all
15
     relevant times subject to government disciplinary sanctions by SASAC—including “removal
16
     from office,” disqualification from any future leadership positions at state-owned enterprises,
17
     and potential “criminal liability”—for actions causing a “loss of State-owned assets.” SASAC
18
     Regs. at Art. 40, 41 (see Amended Wang Decl. ¶ 37, 38; Amended Plunkett Decl. Ex. 50 at -012.)
19
     For example, in 2003, the Communist Party Enterprise Working Committee issued a notice
20
     announcing former Group General Manager Weiren Wu’s expulsion from the Party for
21
     corruption charges and prohibited him from holding future positions at any state-owned
22
     enterprises. (Amended Plunkett Decl. Ex. 50 at -012.)
23
            Group was also required to refer all investment activities and major asset or property
24
     rights transfers to SASAC for approval. (Amended Wang Decl. ¶ 34; Amended Plunkett Decl.,
25
     Ex. 36 at -712 (2006 investment report and 2007 investment plan of Irico Group and its
26
     subsidiaries, submitted to SASAC for review and approval).) All major operating activities,
27
     financial policies, and appointments or dismissals of senior executives were directly managed by
28

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1    departments of the State Council. (Amended Wang Decl. ¶¶ 24, 26, 28-29.) Group was also

2    obligated to achieve performance targets for maintenance and appreciation of State-owned assets

3    in accordance with government requirements. (Amended Wang Decl. ¶ 35; Amended Plunkett

4    Decl., Ex. 24 at -619-20 (2007 notice from SASAC to Irico Group, evaluating Group’s 2006

5    financial performance, assigning it a “performance evaluation score,” and directing Group to

6    “take proactive measures . . . [to] improve the operating efficiency of state-owned capital.”).)

7    Group received all its capital funding from the Chinese government; its budget was set annually

8    by SASAC and the Chinese Ministry of Finance, consisting of government funds appropriated to

9    Group for various purposes, including for use on specific projects by its subsidiaries. (Amended

10   Wang Decl. ¶ 26, 27; Amended Plunkett Decl., Ex. 38 at -737 (Official SASAC notice of “2009

11   central state-owned capital operating budget . . . approved by the State Council” and issued to

12   Irico Group.), 39 at -739 (Ministry of Finance notice of same).) Group was obligated to pay a set

13   portion of its profits back to the government, while the remainder was permitted to be reinvested

14   to increase the value of Group’s state-owned assets. (Amended Wang Decl. ¶ 36; Amended

15   Plunkett Decl., Ex. 43 at Art. III-IV (2007 Ministry of Finance regulations directing “central

16   enterprises” to turn over “proceeds from State-owned capital” directly “to the central treasury,”

17   including “profits payable,” “dividends and bonuses of State-owned shares” from

18   “State-controll[ed] enterprise[s]”, and other “State-owned capital” proceeds); 16 at -588

19   (SASAC notice to Group directing it to turn over RMB2.98 million in 2007 “state-owned capital

20   gains”).)

21   III.    ARGUMENT

22           A.     The Court Lacks Subject Matter Jurisdiction Because Irico Group is
                    Immune from Suit in the United States as an Agency or Instrumentality of
23                  the People’s Republic of China
24           The FSIA insulates Irico Group from the exercise of jurisdiction in the United States. See

25   28 U.S.C. § 1604. The FSIA is “a comprehensive statute containing a set of legal standards

26   governing claims of immunity in every civil action against a foreign state or its political

27   subdivisions, agencies, or instrumentalities.” Rep. of Austria v. Altmann, 541 U.S. 677, 691

28   (2004) (internal quotation marks omitted), and “is the exclusive source of subject matter

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1    jurisdiction over all suits involving foreign states and their instrumentalities.” Compania

2    Mexicana de Aviacion, S.A. v. U.S. Dist. Ct. for the C.D. Cal., 859 F.2d 1354, 1358 (9th Cir.

3    1988).     Under the FSIA, the definition of a “foreign state” includes any “agency or

4    instrumentality of a foreign state,” to wit, any entity:

5                    (1) which is a separate legal person, corporate or otherwise, and
6
                     (2) which is an organ of a foreign state or political subdivision thereof, or a
7                    majority of whose shares or other ownership interest is owned by a foreign
                     state or political subdivision thereof, and
8
                     (3) which is neither a citizen of a State of the United States as defined in
9                    section 1332(c) and (e) of this title, nor created under the laws of any third
                     country.
10
     28 U.S.C. § 1603(b); see also Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S.
11
     428, 428-29, 434-35 (1989) (the FSIA is “the sole basis for obtaining jurisdiction over a foreign
12
     state in United States courts” and “must be applied by district courts in every action against a
13
     foreign sovereign”); Siderman de Blake v. Republic of Argentina, 965 F.2d 699, 706 (9th Cir.
14
     1992) (“As a threshold matter, therefore, a court adjudicating a claim against a foreign state must
15
     determine whether the FSIA provides subject matter jurisdiction over the claim.”); MOL, Inc. v.
16
     Peoples Republic of Bangladesh, 736 F.2d 1326, 1328 (9th Cir. 1984) (“As section 1330(a)
17
     indicates, sovereign immunity is not merely a defense under the FSIA. Its absence is a
18
     jurisdictional requirement.”). It is undisputed that Irico Group is a separate legal person under
19
     subsection 1603(b)(1) and a citizen of China for purposes of subsection (3).
20

21                   1.      Irico Group Was Wholly Owned by the Chinese State and Qualifies
                             as an Agency or Instrumentality of China
22
              For purposes of applying the FSIA, an entity’s status must be determined at the time the
23
     complaint was filed. Dole Food Co. v. Patrickson, 538 U.S. 468, 479-80 (2003). At the time the
24
     IPPs filed their original complaints against Irico, Irico Group was 100% owned by the State
25
     Council of the People’s Republic of China. (Amended Wang Decl. ¶¶ 22-23; Amended Plunkett
26
     Decl., Ex. 4 at -515 (showing all of Irico Group’s capital owned by “The State Council” in 2000),
27
     34 at -682 (audit report showing all of Irico Group’s capital was still wholly “state-owned” in
28
     2008); Clarke Decl. ¶ 19; see also Dkt. 310 (corporate disclosure statement filed on June 24,
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1    2008 stating that “Irico Group . . . is a corporation wholly owned by the People’s Republic of

2    China and has no parent company”).) Irico Group is thus a “foreign state” for purposes of

3    Section 1603(b)(2) and its immunity from suit is therefore presumed. 28 U.S.C. §§ 1603(a)(2),

4    1604; see Am. West Airlines, Inc. v. GPA Group, Ltd., 877 F.2d 793, 796 (9th Cir. 1989) (finding

5    corporations “fully owned by the Republic of Ireland” to be “foreign states” under the FSIA);

6    Corzo v. Banco Cent. Reserva del Peru, 243 F.3d 519, 522 (9th Cir. 2001) (“Under the FSIA,

7    foreign sovereigns are presumptively immune from suit in the United States.”).

8           Even if not for the fact that Irico Group qualifies as an instrumentality of China under the

9    majority-ownership prong of section 1603(b)(2), it would qualify as an “organ” of China under

10   that same subsection given the circumstances of its creation out of wholly state-owned entities as

11   approved by the State Council, the total ownership and control exercised over Group by the State

12   Council through SASAC and other government bodies, such as the Ministry of Finance, and

13   other privileges and obligations undertaken by Group under Chinese law as a wholly state-owned

14   enterprise, as described above in Section II.B. (See Irico Display Mot. at 4-6 (describing legal

15   standard in the Ninth Circuit for qualification as an “organ of a foreign state”).)

16                  2.      No Exceptions Apply That Would Deprive Irico Group of Sovereign
                            Immunity
17

18          IPPs bear the burden of production to demonstrate that the Court may properly invoke its

19   subject matter jurisdiction over Irico Group subject to one of the FSIA’s statutory exceptions.

20   Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993) (“Under the Act, a foreign state is

21   presumptively immune from the jurisdiction of the United States courts; unless a specified

22   exception applies, a federal court lacks subject-matter jurisdiction over a claim against a foreign

23   state.”); Peterson v. Islamic Republic of Iran, 627 F.3d 1117, 1125 (9th Cir. 2010) (“The

24   structure of the FSIA—which codifies the background rule that foreign states are immune from

25   suit and execution, and then creates narrow exceptions—suggest that courts must begin with the

26   presumption that a foreign state is immune and then the plaintiff must prove that an exception to

27   immunity applies.”). In cases, as here, “where a defendant . . . makes a factual attack on subject

28   matter jurisdiction” and introduces evidence showing immunity, “no presumptive truthfulness

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1    attaches to plaintiff’s allegations.” Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir.

2    2012). “The plaintiff then has the burden of going forward with the evidence by offering proof

3    that one of the FSIA exceptions applies.” Id.

4           Section 1605(a) of the FSIA provides exceptions to immunity only where a foreign state

5    or instrumentality (1) “waived its immunity,” (2) engaged in “commercial activity” upon which

6    the action is based with a sufficient nexus to the United States, (3) took property “in violation of

7    international law,” (4) contests rights to “immovable property” in the United States, (5)

8    committed certain noncommercial torts, or (6) is bound by an agreement to arbitrate. 28 U.S.C.

9    § 1605(a). Exceptions (3) through (6) have no conceivable application here, and this Court has

10   already found that actions by the Irico Defendants prior to their default did not waive immunity.

11   (Dkt. 5240 at 12-13.)

12          IPPs are likely to argue that the “commercial activity” exception would preclude Irico

13   Group from invoking immunity under the FSIA. The commercial activity exception “is given a

14   very restrictive interpretation,” Sec. Pac. Nat’l Bank v. Derderian, 872 F.2d 281, 285 (9th Cir.

15   1989), and requires that the lawsuit be “based upon” specific commercial acts by a particular

16   “foreign state” defendant. 28 U.S.C. § 1605(a)(2). A foreign state or instrumentality loses its

17   immunity under this exception only if:

18      (1) “the action is based upon a commercial activity carried on in the United States by the
            foreign state;”
19
        (2) “the action is based . . . upon an act performed in the United States in connection with a
20          commercial activity of the foreign state elsewhere;” or
21      (3) “the action is based . . . upon an act outside the territory of the United States in
            connection with a commercial activity of the foreign state elsewhere and that act causes a
22          direct effect in the United States.”
23   Id. The first and second prongs of the exception cannot apply to Irico Group because Group

24   carried on no “commercial activity” in the United States and performed no “acts” in the United

25   States, let alone one upon which this action is based. (Amended Wang Decl. ¶¶ 12-13.)

26          IPPs also cannot demonstrate that any of Irico Group’s alleged actions underlying their

27   claims had a “direct effect” in the United States as required to defeat immunity under the third

28   prong of section 1605(a)(2). To constitute a “direct effect” under the FSIA, an effect must

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1    “follow[] as an immediate consequence of the defendant’s activity.” Republic of Argentina v.

2    Weltover, Inc., 504 U.S. 607, 618 (1992). A consequence is immediate “if no intervening act

3    breaks the chain of causation leading from the asserted wrongful act to its impact in the United

4    States.” Terenkian, 694 F.3d at 1133 (citing Lyons v. Augusta S.P.A., 252 F.3d 1078, 1083 (9th

5    Cir. 2001) and Guirlando v. T.C. Ziraat Bankasi A.S., 602 F.3d 69, 75 (2d Cir. 2010) (“[T]he

6    requisite immediacy is lacking where the alleged effect depends crucially on variables

7    independent of the conduct of the foreign state.”)) (internal quotations omitted).

8           Moreover, “[s]atisfying the requirement that an effect be ‘immediate’ and therefore

9    ‘direct’ is not sufficient by itself to satisfy the ‘direct effect’ prong of the commercial activity

10   exception, however, because the effect must also be more than ‘purely trivial’ or ‘remote and

11   attenuated.’” Terenkian, 694 F.3d at 1134 (citing Weltover, 504 U.S. at 618). This means that, to

12   prove a direct effect, plaintiffs must show that “something legally significant actually happened

13   in the United States” as a direct result of Irico Group’s actions. Id.; Gregorian v. Izvetsia, 871

14   F.2d 1515, 1527 (9th Cir. 1989). These “legally significant” actions alleged to have directly

15   injured plaintiffs must be actions of the specific defendant at issue, as actions by independent or

16   even related entities will not suffice. See California v. NRG Energy, Inc., 391 F.3d 1011, 1024

17   (9th Cir. 2004) (finding no “direct effect” by a parent company and refusing to impute any effects

18   from direct sales to the U.S. by its wholly-owned subsidiary), vacated on other grounds,

19   Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S. 224 (2007). “[M]ere financial loss by a

20   person—individual or corporate—in the U.S. is not, in itself, sufficient to constitute a direct

21   effect.” Adler v. Fed. Republic of Nigeria, 107 F.3d 720, 726-27 (9th Cir. 1997).

22          In their complaint, IPPs have alleged that Irico Group made sales “either directly

23   or indirectly through its subsidiaries or affiliates, to customers throughout the United States.”

24   (Dkt. 1526 at ¶ 95.) These allegations are purely speculative and are entitled to “no presumptive

25   truthfulness” in evaluating FSIA immunity. Terenkian, 694 F.3d at 1134. IPPs have presented

26   no evidence that Irico Group made any sales (whether of CRTs or finished products) to

27   customers in the United States during the Class Period. Irico Group made no such sales: Irico

28   sold products almost exclusively within China, and its limited exports did not include any sales

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1    into the United States. 7 (Amended Wang Decl. ¶ 12; see Amended Plunkett Decl., Ex. 5 at -527

2    (government approval for the formation of Irico Group, requiring Group to seek special approval

3    from the Ministry of Machinery and Electronics Industry for any potential exports because

4    “currently . . . domestic market demand still cannot be met”).) Furthermore, Irico Group did not

5    have any salespeople authorized to sell CRT products to U.S. customers at any time between

6    1995 and 2007. (Amended Wang Decl. ¶ 13.) Any claim of direct effect through Irico Group’s

7    sales of CRTs is even more tenuous here, where IPP’s claims are based explicitly upon indirect

8    sales through one or more layers of independent customers. Sales of televisions and monitors

9    made directly or indirectly by Irico Group’s customers, pursuing their own sales strategy and

10   setting their own prices, are just the sort of “intervening object, cause, or agency” that cannot

11   trigger the commercial activity exception. Terenkian, 694 F.3d at 1135. “[T]he requirement that

12   an effect be ‘direct’ indicates that Congress did not intend to provide jurisdiction whenever the

13   ripples caused by an overseas transaction manage eventually to reach the shores of the United

14   States.” Id. at 1134-35 (quoting United World Trade, Inc. v. Mangyshlakneft Oil Prod. Ass’n, 33

15   F.3d 1232, 1238 (10th Cir. 1994)); see NRG Energy, 391 F.3d at 1024.

16          Nor can IPPs rely on their allegations that Irico Group participated in a conspiracy to

17   support a finding of “direct effect.” The “direct effect” prong of the commercial activity

18   exception typically only applies in cases where a foreign sovereign has entered into a contractual

19   relationship requiring performance in the United States, or where a U.S. plaintiff was injured

20   directly by a foreign sovereign’s tortious conduct. See, e.g., Weltover, 504 U.S. at 618-19

21   (finding “direct effect” where contract specified payment in the United States); Adler, 107 F.3d

22   720, 726-27 (same), or where a U.S. plaintiff was allegedly injured by a foreign sovereign’s

23   tortious conduct, see, e.g., Am. West Airlines, Inc., 877 F.2d at 796-800 (finding no “direct

24   effect” where defendant’s allegedly faulty aircraft maintenance happened outside the United

25
     7
26     Prior filings by DPPs made reference to approximately two thousand “sample units” of Irico CRTs
     shipped to the United States in 2002. (See Dkt. 5221 at 16.) These sales were not made by Irico Group,
27   but rather by China National Electronics Import & Export Caihong Co. (“Caihong Co.”), a separate,
     unaffiliated state-owned entity over which Irico Group had no control. (See Amended Plunkett Decl. Ex.
28   54 (showing 2,018 CRT units exported to the United States in 2002 by Caihong Co.; country code “502”
     indicates the United States).)
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1    States); Joseph v. Office of Consulate Gen. of Nigeria, 830 F.2d 1018, 1024 (9th Cir. 1987).

2    Cases applying the “direct effect” test in the antitrust context are somewhat rare, but those that

3    do, including in the Ninth Circuit, have concluded that no direct effect exists unless the specific

4    defendant had direct sales of the allegedly affected product in the United States. See NRG

5    Energy, Inc., 391 F.3d at 1024 (finding no “direct effect” because a parent company’s “decisions

6    affected an intermediary,” its own subsidiary, “whose actions in turn affected the U.S.” through

7    direct power sales to California), aff’g in part In re Wholesale Electricity Antitrust Cases I & II,

8    No. 2-0990-RHW, 2002 WL 34165887, at *8 (S.D. Cal. Dec. 17, 2002) (“It appears, however,

9    that BC Hydro simply delivered energy to Powerex, and Powerex independently marketed and

10   sold the power into the California markets . . . Any ‘direct effect’ on the California markets was

11   perpetrated by Powerex.”), vacated on other grounds, Powerex Corp. v. Reliant Energy Servs.,

12   Inc., 551 U.S. 224 (2007); Filetech, 212 F. Supp. 2d at 197 (finding no “direct effect” from

13   allegedly anticompetitive conduct where defendant, an instrumentality of France, had not

14   “intended or contemplated a specific effect in the United States,” did not have “substantial sales

15   of marketing lists in the United States,” and “failed to arrange for or complete a single U.S. sale”

16   of certain other products).

17           Cases outside the antitrust context confirm that a “direct effect” cannot be established

18   without direct sales. See Terenkian, 694 F.3d at 1138 (finding no “direct effect” due to breach of

19   contract to deliver oil despite fact that “some of the oil intended for purchase was meant for the

20   U.S. market”); In re N. Sea Brent Crude Oil Futures Litig., No. 1:13-MD-02475(ALC), 2016

21   WL 1271063, at *12 (S.D.N.Y. Mar. 29, 2016) (finding no “direct effect” where plaintiffs

22   “present[ed] evidence of a correlation between physical Brent crude oil prices and futures

23   prices,” where “any effect the physical transactions ha[d] on the United States markets [wa]s

24   mitigated by the actions of third parties”).

25           Jurisprudence on the application of personal jurisdiction to alleged participants in a

26   conspiracy is also instructive on this point. 8 The Ninth Circuit has held that “the requirement of

27   8
       In its February 1, 2018 Order granting Irico’s motion to set aside the default in the DPP action, the Court
     turned to cases under the Foreign Trade Antitrust Improvements Act for assistance in interpreting the
28   “direct effects” requirement. Irico respectfully submits that personal jurisdiction principles provide a
     more apt analogy because, as described below, the Ninth Circuit has explicitly incorporated “minimum
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1    a ‘direct effect’ incorporates the minimum contacts standards of International Shoe v.

2    Washington” and therefore “must comport with the traditional notions of fair play and substantial

3    justice which determine the due process limits of personal jurisdiction.” Derderian, 872 F.2d at

4    286-87; see also Corzo, 243 F.3d at 525-26 (citing Security Pacific for the necessity of

5    “minimum contacts” with the United States to establish a direct effect under the FSIA); Theo. H.

6    Davies & Co. v. Republic of Marshall Islands, 174 F.3d 969, 974 (9th Cir. 1998) (“Section

7    1330(b) [of the FSIA] provides, in effect, a Federal long-arm statute over foreign states . . . .

8    This long-arm statute, however, is constrained by the minimum contacts required by

9    International Shoe Co. v. Washington and its progeny.”) (internal citation omitted); Rote v. Zel

10   Custom Mfg. LLC, 816 F.3d 383, 395 (6th Cir. 2016) (observing “that the Ninth Circuit has

11   adopted . . . ‘minimum contacts’ analysis to conclude that [an] activity had no ‘direct effect.’”).

12           In the personal jurisdiction context, courts in the Ninth Circuit have found that acts or

13   contacts of alleged co-conspirators cannot be imputed to a different defendant for purposes of

14   establishing jurisdiction over that defendant. As stated by the court in Kipperman v. McCone:

15           Contrary to plaintiff's assertion that personal jurisdiction over alleged
             co-conspirators may be acquired vicariously through the forum-related
16           conduct of any single conspirator, the Court believes that personal
             jurisdiction over any non-resident individual must be premised upon
17
             forum-related acts personally committed by the individual. Imputed conduct
18           is a connection too tenuous to warrant the exercise of personal jurisdiction.

19   422 F. Supp. 860, 873 n.14 (N.D. Cal. 1976) (emphases added). The Ninth Circuit likewise has
20   noted that a “conspiracy theory” of jurisdiction is unwarranted, observing that “[t]here is a great
21   deal of doubt surrounding [its] legitimacy,” Chirila v. Conforte, 47 Fed. App’x 838, 842 (9th Cir.
22   2002) (citing Kipperman and other cases), and has squarely rejected the imputing of contacts
23   from co-conspirators in the venue context, Piedmont Label Co. v. Sun Garden Packing Co., 598
24   F.2d 491, 492 (9th Cir. 1979). Extending the reach of the “direct effects” exception beyond that
25
     contacts” principles in its FSIA jurisprudence. In addition, unlike the FTAIA, sovereign immunity and
26   personal jurisdiction each address the court’s jurisdiction over a particular defendant. The FSIA and
     FTAIA also have notably different purposes. See Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 174 (2009)
27   (noting that courts “must be careful not to apply rules applicable under one statute to a different statute
     without careful and critical examination”); Lotes Co., Ltd. v. Hon Hai Precision Indus. Co., 753 F.3d 395,
28   410-11 (2d Cir. 2014) (“Here, both the purpose and language of the FSIA and FTAIA differ in critical
     respects.”).
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1    recognized in this Circuit as appropriate for personal jurisdiction would frustrate “Congress’

2    intent that it be difficult for private litigants to bring foreign governments into court, thereby

3    affronting them.” Murphy v. Korea Asset Mgmt. Corp., 421 F. Supp. 2d 627, 640 (S.D.N.Y.

4    2005) (internal quotations omitted).

5             Given the absence of sales to the U.S. by Irico Group and the lack of any evidence that

6    Group otherwise meets the strictly-construed requirements of the commercial activity exception,

7    there is no basis for concluding that jurisdiction under the FSIA exists with respect to Irico

8    Group.

9    IV.      CONCLUSION

10            Based on the foregoing, Irico requests that the Court enter an order: (a) dismissing the

11   IPP Complaint against Irico with prejudice; and (b) granting such further relief as may be just

12   and equitable.

13   Dated: March 19, 2019                                    /s/ Stuart C. Plunkett
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     IRICO GROUP’S AMENDED MOTION TO DISMISS                                CASE NO. 3:07-CV-05944-JST
     IPPS FOR LACK OF JURISDICTION
                                                    16                                   MDL NO. 1917
